                  Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 1 of 37



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           8    HOLMES,PATRICK AHRENS,LAURA CASAS,
                PEARL CHENG,PETER LANDSBERGER,
           9    GILBERT WONG,ALICIA CORTEZ,THOMAS
                RAY,CHRISTINA ESPINOSA-PIEB,and LYDIA
           10   HEARN
PL.

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<N         15   TABIA LEE,                                   Case No. 5:23-cv-03418-PCP
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           16            Plaintiff,                          DEFENDANTS’ NOTICE OF MOTION
                                                             AND MOTION TO DISMISS SECOND
           17   vs.                                          AMENDED COMPLAINT PURSUANT TO
                                                             FRCP 12(B)(6); MEMORANDUM OF
           18   THE FOOTHILL-DE ANZA                         POINTS AND AUTHORITIES IN
                COMMUNITY COLLEGE DISTRICT,                  SUPPORT THEREOF
           19   DE ANZA COLLEGE, PATRICK J.
                AHRENS, LAURA CASAS, PEARL                   Date: October 3,2024
           20
                CHENG, PETER LANDSBERGER, LEE                Time: 10:00 a.m.
           21   LAMBERT, and GILBERT WONG, in                Judge: Hon. P. Casey Pitts
                their official capacities; CHRISTINA         Courtroom: 8
           22   ESPINOSA-PIEB, in her official and
                individual capacities; ALICIA CORTEZ,
           23   LYDIA HEARN, LLOYD A. HOLMES,
                and THOMAS RAY, in their individual
           24
                capacities.
           25            Defendants.
           26

           27

           28


                NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION             4895-7937-2230
                CASE NO. 5:23-CV-034I8-PCP
                Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 2 of 37



       1                                      TABLE OF CONTENTS

      2                                                                                           Page(s)

           I.    INTRODUCTORY STATEMENT                                                                2

      4    II. LEGAE STANDARDS FOR MOTION TO DISMISS                                                   3

      5    III. ARGUMENT                                                                               4

      6           A.   Count I Must Be Dismissed Because Plaintiff Has Failed To Adequately
                       Allege A First Amendment Free Speech Retaliation Claim For Damages
      7                Under 42 U.S.C. § 1983 Against Individual Defendants Holmes, Espinosa-Pieb,
                       Ray, Hearn Or Cortez                                                            4
      8
                         1.     Eegal Standard For Stating A First Amendment Retaliation Claim
      9                         Under 42 U.S. C. § 1983 Against An Individual Defendant                4

      10                 2.     The Court’s May 7*^ Order Specifying What Eee Must Plausibly
Ch
hJ
                                Allege In Any Amended Complaint To State A First Amendment
      11                        Retaliation Claim Against Any Of The Individual Defendants             5
Z
<
c_    12                 3.     Plaintiff Has Not Adequately Pleaded That Her Alleged Speech
U J
                                 At Issue In Count 1 Was Speech Protected By The First Amendment..     6
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ip
z p                      4.     Plaintiff Has Not Identified As Required For Each Defendant
Z
u <   14                        How The Defendant Violated Any Of Her Protected Speech Or
u
                                How The Defendant’s Alleged Violation Caused Her Injury               11
<
N     15
<
a.                B.   Count 2 Must Be Dismissed Because Plaintiff Has Failed To Adequately
      16                Allege A First Amendment Free Speech Censorship Claim For Damages
                       Under 42 U.S.C. § 1983 Against Holmes, Espinosa-Pieb, Ray, Hearn Or Cortez     15
      17
                  C.   Counts 1 And 2 Fail To State A Claim For Prospective Injunctive Relief
      18               Against Defendants Sued In Their Official Capacities                           16

      19          D.   Each Individual Employee Defendant Sued In Their Individual Capacity
                       Should Be Dismissed With Prejudice From Plaintiffs Section 1983 Claims
      20               (Counts 1 and 2)Due To Qualified Immunity                                      17

      21          E.   Count 3 For Hostile Work Environment In Violation Of Title VII Should Be
                       Dismissed For Failure To State A Claim                                         19
      22
                  F.   Count 4 For Retaliation In Violation Of Title VII Should Be Dismissed In
      23               For Failure To Exhaust Administrative Remedies And Failure To State A Claim    20

      24          G.   Count 5 For Violation Of California’s Fair Employment And Housing Act
                       (FEHA)Must Be Dismissed On Multiple Grounds                                    22
      25
                         1.     The FEHA Claims Against Defendants De Anza And The District
      26                        Were Already Dismissed Without Leave To Amend                         22

      27                 2.     To The Extent That Plaintiff Intends To Bring A FEHA Racial
                                Harassment Claim Against Defendants Holmes, Espinosa-Pieb, Hearn,
      28                        Ray And Cortez, Count 5 Fails To State A Claim                        22
                                                          11

           NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
           CASE NO. 5:23-CV-034I8-PCP
               Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 3 of 37



          1               3.     Failure To Exhaust                             23

         2    IV. CONCLUSION                                                    24



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              NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
              CASE NO. 5:23-CV-03418-PCP
               Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 4 of 37



          1                                   TABLE OF AUTHORITIES

         2                                                                                          Page(s)
         3    Cases

         4    Adams V. Johnson, 355 F.3d 1179(9* Cir. 2004)                                                  3

         5                                                                                                   3
              Bell Atlantic Corp. v. Twombly, 550 U.S. 455 (2007)
         6
              Brewster v. Bd. OfEduc. OfLynwood Unified Sch. Dist., 149 F.3d 971 (9* Cir. 1998)            18
         7
              Capp V. Cnty ofSan Diego, 940 F.3d 1046(9* Cir. 2019)                                          5
         8
              Demers v. Austin, 746 F.3d 402(2014)                                                          17
         9

         10   Payer v. Vaughn, 649 F.3d 1061 (9* Cir. 2011)                                                  3
CIh
         11   Giles V. San Joaquin Valley Rehab. Hasp., 2023 U.S. Dist. LEXIS 121567 *13, 2023 WL
2


         12     4551692(E.D. Cal. July 14, 2023)                                                            18

         13
U
2 z -J        Gordon v. Cnty ofOrange,6 F.4* 961 (9^'’ Cir. 2021)                                           17
-I       14
                                                                                                            16
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Q
              Hafer v. Melo, 502 U.S. 21 (1991)
<N       15
<
c-            Harper v. City ofLA., 533 F.3d 1010(9* Cir. 2008)                                              4
         16
              Hartmann v. California Dep’t ofCorr. & Rehab, 707 F.3d 1114 (9th Cir. 2013)                   16
         17

         18   Hashimoto v. Dalton, 118 F.3d 671 (9th Cir. 1997)                                            20

         19   Iqbal, supra, 556 U.S                                                                         12

         20                                                                                                22
              Jones V. The Lodge at Torrey Pines P ’ship, 42 Cal.4'^ 1158 (2008)
         21
              Jumaane v. City ofLos Angeles, 241 Cal. App. 4“^ 1390(2015)                                  23
         22
              Kim V. Konad USA Distrib., Inc., 226 Cal. App. 4''^ 1336 (2014)                              23
         23
              Leer v. Murphy,844 F.2d 628(9* Cir. 1988)                                                      4
         24

              Long V. Cnty. o/Z.X., 442 F.3d 1178 (9‘^ Cir. 2006)                                            4
         25

         26   Meanest V. GTE Serv. Corp., 360 F.3d 1103 (9“^ Cir. 2004)                                     19

         27   Monell V. Dep’t ofSoc. Servs. ofNY,426 U.S. 658(1978)                                         16

         28
              Nat’l R.R. Passenger Corp. v. Morgan, 536 U.S. 101 (2002)                                     21
                                                              IV

              NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION                       4895-7937-2230
              CASE NO. 5:23-CV-034I8-PCP
                 Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 5 of 37



            1   Navarro v. Block, 250 F.3d 729(9* Cir. 2001)                                      3

           2
                Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75 (1998)                    19
           3
                OSUStudent All. v. Ray, 699 F.3d 1053(9* Cir. 2012)                               4
           4
                Reno V. Baird, 18 Cal.4'‘^ 640(1998)                                             22
           5
                Sampson v. Cnty ofLos Angeles, 974 F.3d 1012 (9*'^ Cir. 2020)                    17
           6

           7    Seider v. de Vries, 39 F.4* 591 (9* Cir. 2022)                                   17

           8    Shaw V. Hahn,56 F.3d 1128(9* Cir. 1995)                                           3

           9                                                                                     15
                Shurtleffv. City ofBoston, 596 U.S. 243(2022)
           10
                Shwarz v. United States, 234 F.3d 428 (9th Cir. 2000)                             3
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                Starr v. Baca, 652 F.3d 1202 (O^*’ Cir. 2011)
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                Westendorfv. W. Coast Contractors ofNex., Inc., 712 F.3d 417 (9th Cir. 2013)     20
to         13
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2 t        14   Williams v. Am. Airlines, Inc.,
w <

Q
<N         15     2020 U.S. Dist. LEXIS 49949, at *14(N.D. Cal. March 23, 2020)                  23
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a.

           16
                Statutes
           17
                42 U.S. C. § 1983                                                                 5
           18
                42 U.S.C. § 1983                                                               4, 16
           19
                42 U.S.C. § 2000e-2(a)(l)                                                        20
           20

           21   California’s Fair Employment & Eiousing Act, Cal. Gov’t Code §§ 12940 et seq   2, 25

           22   Civil Rights Act of 1964(42 U.S. C. § 2000-e)                                     2

           23
                Constitution
           24
                Eleventh Amendment                                                               21
           25
                First Amendment                                                                   2
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                                                                 V

                NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                CASE NO. 5:23-CV-03418-PCP
               Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 6 of 37



          1   Court Rules

         2
              Federal Rule of Civil Procedure 8(a)(2)                           3
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              Federal Rule of Civil Procedure 12(b)(6)                          3
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                                                          VI


              NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
              CASE NO. 5;23-CV-03418-PCP
                      Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 7 of 37



              1                                NOTICE OF MOTION AND MOTION

             2              TO PLAINTIFF AND HER ATTORNEYS OF RECORD:

             3              PLEASE TAKE NOTICE that, on October 3, 2024 at 10:00 a.m., or as soon thereafter as
             4
                  the matter may be heard in Courtroom 8 before the Hon. P. Casey Pitts of the above-referenced
             5    Court, located at 280 South E* Street, San Jose, California, Defendants Foothill-De Anza
             6
                  Community College District (herein “Districf’),^ De Anza Community College (herein “De Anza
             7
                  College”),^ Lee Lambert(herein “Chancellor Lambert”),^ Lloyd A. Holmes (herein “President
             8
                  Holmes”),"* Patrick Ahrens (herein “Trustee Ahrens”), Laura Casas (herein “Trustee Casas”),
             9
                  Pearl Cheng (herein “Trustee Cheng”), Peter Landsberger (herein “Trustee Landsberger”), Gilbert
             10
                  Wong (herein “Trustee Wong”), Alicia Cortez(herein “Dean Cortez”), Thomas Ray (herein
hJ
             11   a
                      Interim Associate Vice President for Instruction Ray” or “AVPI Ray”), Christina Espinosa-Pieb
             12
II                (herein “Vice President for Instruction Espinosa-Pieb” or “VPI Espinosa-Pieb”) and Lydia Hearn
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             13
[3 s I            (herein “Interim Associate Vice President for Instruction Hearn” or “AVPI Hearn”)(eollectively
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                      Defendants”) will and hereby do move this Court to dismiss Plaintiffs Second Amended
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<                 Complaint(herein “Second Amended Complaint” or “SAC”)pursuant to Rule 12(b)(6) of the
a.

             16   Federal Rules of Civil Procedure.

             17
                            This Motion is brought pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure,
             18
                  and is based upon this Notice of Motion and Motion, the Memorandum of Points and Authorities,
             19
                  Plaintiffs Second Amended Complaint(“SAC”), any and all relevant papers filed in this case,
             20
                  and such other further oral and documentary evidence and memoranda that may be presented to
             21   this Court.

             22

             23

             24
                  1
             25     The District is comprised oftwo colleges: De Anza College and Foothill College.
                  ^ De Anza College is part ofthe District, is not a separate public entity subject to suit, and
             26   therefore a redundant party that should be dismissed.
                  ^ Lee Lambert is Chancellor ofthe District and is sued in his official capacity only. Plaintiff
             27   added Chancellor Lambert as a Defendant in the SAC. Chancellor Lambert commenced
             28   employment with the District after Plaintiff initiated this lawsuit.
                  "* Holmes is the former President of De Anza College as ofthe filing of the SAC.
                                                                    1

                  NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION                             4895-7937-2230
                  CASE NO. 5:23-CV-03418-PCP
                  Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 8 of 37



             1                       MEMORANDUM OF POINTS AND AUTHORITIES

            2                             I.    INTRODUCTORY STATEMENT

            3
                        Plaintiff Tabia Lee (herein “Plaintiff’ or “Lee”)filed a Second Amended Complaint
            4
                 (herein “SAC”)on May 31, 2024. The SAC was filed following the Court’s May 7, 2024 Order
            5
                 On Motion To Dismiss(ECF No. 51, herein “May 7* Order”), which dismissed all seven Counts
            6
                 in Plaintiffs First Amended Complaint (herein “FAC”)(ECF No. 27), three with leave to
            7
                 amend.^   The three Counts dismissed, with leave to amend as set forth with particularity in the
            8
                 Court’s May 7* Order, were the following : (1)First Amendment Free Speech (42 U.S.C. §
            9
                 1983)(herein “First Amendmenf’); (2) Title VII of the Civil Rights Act of 1964(42 U.S. C. §
            10
Ph               2000-e)(herein “Title VII”); and (3) California’s Fair Employment and Housing Act(Gov’t Code
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                 § 12940 et seq.)(herein “FEHA”).
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O > s                   The Court’s May 7‘^ Order was specific as to the central pleading deficiencies in
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uj <             Plaintiffs FAC regarding her First Amendment, Title VII, and FEHA claims, and what Plaintiff
Q

            15   would be required to plead to cure those deficiencies in any amended complaint she chose to file.
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            16   As addressed herein, instead of curing the deficiencies in the First Amended Complaint, Lee

            17   largely rehashes, in voluminous form, allegations that she included in each prior version of her

            18   complaint, and which this Court has dismissed as insufficient to state a claim. To the extent her

            19   allegations are new to the Second Amended Complaint, they are largely conclusory statements

            20   and/or language-smithing, rather than plausibly alleged facts sufficient to state a claim.

            21          Defendants District, De Anza College, Holmes, Lambert, Ahrens, Casas, Cheng, Wong,

            22   Cortez, Ray, Espinosa-Pieb, and Hearn (collectively “Defendants”) now move under Rule

            23   12(b)(6) to dismiss all claims under the First Amendment, Title VII, and FEHA (Counts 1

            24   through 5)in Plaintiffs Second Amended Complaint on the grounds set forth herein.

            25

            26

            27
                 ^ The Court dismissed the following Counts in the FAC without leave to amend: Count 2(Title
            28   VI); Count 3(Cal. Const., Art. 1, Sec. 2(a)); Count 4(Wrongful Termination - FEHA); and
                 Count 5 (Wrongful Termination - Cal. Const., Art. 1, Sec.(8)).
                                                                  2

                 NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                 CASE NO. 5:23-CV-034I8-PCP
               Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 9 of 37



          1          The Court should grant Defendants’ Motion to Dismiss in its entirety and dismiss all five

         2    Counts against all Defendants without leave to amend on the grounds set forth herein.

         3                    II.   LEGAL STANDARDS FOR MOTION TO DISMISS

         4
                      Federal Rule of Civil Procedure section 12(b)(6) provides that a complaint(or a particular
         5
              claim for relief) may be dismissed at the outset for “failure to state a claim upon which relief can
         6
              be granted.” Rule 12(b)(6) motions test “the legal sufficiency of the complaint.” Navarro v.
         7
              Block, 250 F.3d 729, 732 (9‘'^ Cir. 2001). To survive a motion to dismiss, a complaint must
         8
              contain sufficient factual matter to “state a claim to relief that is plausible on its face.” c, citing
         9
              Bell Atlantic Corp. v. Twombly, 550 U.S. 455, 570(2007). On a motion to dismiss, the trial court
         10
              must accept the factual allegations of the complaint as true. Iqbal, supra, 556 U.S. at 678;
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<             Twombly,supra, 550 U.S. at 570. However, this standard does not apply to conclusory
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U J           allegations or legal conclusions. “Threadbare recitals of the elements of a cause of action,
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2 z 13        supported by mere conclusory statements, do not suffice.” Iqbal, supra, 556 U.S. at 678.
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              Moreover, the court need not accept as true allegations contradicted by judicially noticeable facts,
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              see Shwarz v. United States, 234 F.3d 428, 435 (9th Cir. 2000), and it "may look beyond the
         16
              plaintiffs complaint to matters of public record" without converting the Rule 12(b)(6) motion into
         17
              a motion for summary judgment,Shaw v. Hahn, 56 F.3d 1128, 1129, n.l (9‘*’ Cir. 1995). Nor
         18
              must the Court "assume the truth of legal conclusions merely because they are cast in the form of
         19
              factual allegations." Payer v. Vaughn, 649 F.3d 1061, 1064 (9‘“^ Cir. 2011)(per curiam). Mere
         20
              "conclusory allegations of law and unwarranted inferences are insufficient to defeat a motion to
         21
              dismiss." Adams v. Johnson, 355 F.3d 1179, 1183(9* Cir. 2004).
         22
                      Ascertaining whether the complaint is factually plausible is a “context-specific task that
         23
              requires the reviewing court to draw on its judicial experience and common sense.” Iqbal, supra,
         24
              556 U.S. at 679. Moreover,the “well-pleaded facts” rule requires more than the mere possibility
         25
              of misconduct.” Ibid. The complaint must ^^show that the [plaintiff] is entitled to relief” Ibid.,
         26
              quoting Federal Rule of Civil Procedure 8(a)(2), emphasis supplied. See Starr v. Baca,652 F.3d
         27
              1202, 1214-16(9* Cir. 2011).
         28
                                                                  3

              NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
              CASE NO. 5:23-CV-03418-PCP
                    Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 10 of 37



               1                                        III. ARGUMENT

              2     A.    Count 1 Must Be Dismissed Because Plaintiff Has Failed To Adequately Allege A
                          First Amendment Free Speech Retaliation Claim For Damages Under 42 U.S.C.§
              3
                          1983 Against Individual Defendants Holmes. Espinosa-Pieb, Ray, Hearn Or Cortez
              4
                          Count 1 is a claim for damages under 42 U.S.C. § 1983 (“Section 1983”) brought against
              5
                   Defendants Holmes, Espinosa-Pieb, Ray, Hearn and Cortez(herein collectively “Individual
              6
                   Defendants”) in their individual capacities for alleged retaliation against Lee in violation of the
              7
                   First Amendment(Free Speech)(herein “First Amendment Retaliation Claim”). Plaintiff has
              8
                   failed to adequately allege plausible facts of a First Amendment Retaliation claim for damages
              9
                   against any individual Defendant sued in their individual capacity sufficient to cure the
              10
                   deficiencies identified by the Court in granting leave to amend.
hJ            11
Z
<                             1.    Legal Standard For Stating A First Amendment Retaliation Claim Under
c.            12                    42 U.S. C.§ 1983 Against An Individual Defendant
      <   D
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O ;
              13          There are two elements to a Section 1983 claim: (1)“that a right secured by the
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u: <          14   Constitution...was violated, and (2)that the alleged violation was committed by a person acting
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Q

              15   under the color of state law.” ECF No. 51, 6:9-11, citing Longv. Cnty. ofLA.,442 F.3d 1178,
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e-

              16   1185 (9‘'’ Cir. 2006). Additionally, a “plaintiff must also demonstrate that the defendant’s

              17   conduct was the actionable cause ofthe claimed injury” (i.e. causation-in-fact and proximate

              18   causation). ECF No. 51, 6:9-11, citing Harper v. City ofLA., 533 F.3d 1010, 1026 (9**’ Cir.

              19   2008). In this regard, a Section 1983 claim does not support vicarious liability. See OSUStudent

              20   All. V. Ray,699 F.3d 1053, 1069 (9‘^ Cir. 2012)(citations omitted). “[E]ach government official,

              21   his or her title notwithstanding, is only liable for his or her own misconduct.” Id., citing Ashcroft

              22   V. Iqbal, 556 U.S. 662,667 (2009). Therefore, “[t]o state a valid [Section] 1983 claim, ‘a plaintiff

              23   must plead that each government-official defendant, through the official’s own individual actions,

              24   had violated the Constitution.” Id. (emphasis added.) A person deprives another of a

              25   constitutional right under Section 1983 only “if he does an affirmative act, participates in
                                                                                                           95
              26   another’s affirmative acts, or omits to perform an act that he is legally required to do. Leer v.

              27   Murphy, 844 F.2d 628, 633(9* Cir. 1988)(internal quotations omitted). The inquiry into

              28   causation “must be individualized and focus on the responsibilities of each individual defendant

                                                                     4

                   NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                   CASE NO. 5:23-CV-03418-PCP
               Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 11 of 37



          1   whose acts or omissions are alleged to have caused a constitutional deprivation.” Leer,supra.

         2    844 F.2dat633.

         3           Additionally, to state a First Amendment Retaliation Claim a plaintiff must plausibly

         4    allege that “(1)[plaintiff] was engaged in a constitutionally protected activity,(2)the defendant’s

         5    actions would chill a person of ordinary firmness from continuing to engage in the protected

         6    activity, and (3)the protected activity was a substantial or motivating factor in the defendant’s

         7    conduct.” ECF No. 51, 8:20-24 (internal quotations omitted), citing Capp v. Cnty ofSan Diego,

         8    940 F.3d 1046, 1053 (9^'^ Cir. 2019). Moreover, the “plaintiff must show that the defendant’s

         9    retaliatory animus was a ‘but-for’ cause” ofthe plaintiffs injury “meaning that the adverse action

         10   against the plaintiff would not have been taken absent the retaliatory motive.” Id.
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Z                        2.    The Court’s May    Order Specitying What Lee Must Plausibly Allege In
<
o-       12                    Any Amended Complaint To State A First Amendment Retaliation Claim^
   2
X
U -J                           Against Any Of The Individual Defendants
^<
1/5      13
gI2                  The Court’s May       Order dismissed, with leave to amend, Lee’s individual capacity First
2 0 **
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U3 <     14
              Amendment(Retaliation) claims against Defendants Holmes, Espinosa-Pieb, Ray, Hearn and
Q
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<             Cortez on the ground that they were impermissibly vague under Rule 8 and not clear enough to
c.

         16
              enable each Defendant to respond because:
         17
                         ●    the FAC did not specify which of the individual defendants Lee claimed retaliated
         18
                              against her and how;
         19
                         ●    the FAC did not explain how each defendant’s actions proximately caused her
         20
                              harm;
         21
                              not all of the speech discussed in the FAC was equally protected; and
         22
                              it was not entirely clear in the FAC which speech Lee asserts was the basis for
         23
                              each defendant’s alleged retaliation, and whether that speech was academic speech
         24
                              or speech made pursuant to Lee’s official duties.
         25
              ECF No. 51,9:3-9.
         26
                      Per the Court’s May 7*'’ Order, for Lee to adequately state a First Amendment claim
         27

         28   ^ As addressed below. Count 2 is a claim for First Amendment Censorship. The Court’s May
              Order in this regard also applies to Count 2.
                                                               5

              NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
              CASE NO. 5:23-CV-03418-PCP
                  Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 12 of 37



             1   against an individual Defendant in any amended complaint, Lee must: “for each claim, identify

            2    the protected speech, how particular defendants violated her free expression rights with respect to

                 that speech, and how defendants’ actions caused her injuries.” ECF No. 51, 9:9-12. Regarding

            4    the particular speech at issue, in order to plead that particular speech is protected by the First

            5    Amendment, Lee “must plausibly allege that it was either(1) academic speech on a matter of

            6    public concern and thus potentially protected under Demers,^ or(2) not made pursuant to her
                                                                                        ;’58
            7    official responsibilities and thus potentially protected under Garcetti.      (Emphasis added.) ECF

            8    No. 51, 7:8-12. The Court noted Lee’s official duties as the Faculty Director of the Office of

            9    Equity, Social Justice, & Multicultural Education (herein “Faculty Director”)from portions of

            10   Lee’s job description partially quoted by Plaintiff in the SAC. Also noted was the fact that many
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            11   ofthe statements that Lee discussed in her First Amended Complaint appeared to be speech that
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B-          12   was made pursuant to Lee’s official duties but that involved neither teaching nor academic
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in
O > s            writing.   ECF No. 51, 7:12-27. The Court concluded that Lee had not adequately pleaded that
Z z ^
Z o
z t:        14
w <              the speech at issue was protected under either Demers or Garcetti, or that she was prevented from
Q

N           15   making any protected speech or retaliated against on the basis of such speech. ECF No. 51, 7:12-
<
Cl.

            16   13, 8:3-5. In addition to the above pleading requirements regarding each individual Defendant, in

            17   any amended complaint: “Dr. Lee must identify the specific academic or non-official speech that

            18   she contends was censored or a basis for retaliation.” ECF No. 51, 8:5-7.

            19               3.    Plaintiff Has Not Adequately Pleaded That Her Alleged Speech At Issue In
            20                     Count 1 Was Speech Protected By The First Amendment

                         To adequately state a First Amendment claim. Plaintiff was required by the May 7‘^ Order
            21
                 to plausibly allege as a threshold element that the speech she claims was protected by the First
            22
                 Amendment was either(1) academic speech on a matter of public concern and thus potentially
            23

            24

            25   ^ Demers v. Austin, 746 F.3d 402,412 (9**^ Cir. 2014)(holding that Garcetti does not apply to
                 teaching and academic writing that are performed pursuant to the official duties of a teacher or
            26   professor).
                 * Garcetti v. Ceballos, 547 U.S. 410,417,421 (2006)(when public employees “make statements
            27
                 pursuant to their official duties, the employees are not speaking as citizens for First Amendment
            28   purposes, and the Constitution does not insulate their communications from employer
                 discipline.”)
                                                                   6

                 NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                 CASE NO. 5:23-CV-03418-PCP
                 Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 13 of 37



         1                                 NOTICE OF MOTION AND MOTION

        2             TO PLAINTIFF AND HER ATTORNEYS OF RECORD:

        3
                      PLEASE TAKE NOTICE that, on October 3, 2024 at 10:00 a.m., or as soon thereafter as
        4
             the matter may be heard in Courtroom 8 before the Hon. P. Casey Pitts of the above-referenced
         5
             Court, located at 280 South L' Street, San Jose, California, Defendants Foothill-De Anza
        6
             Community College District (herein “Districf’),' De Anza Community College (herein “De Anza
        7
             College”),^ Lee Lambert(herein “Chancellor Lambert”),^ Lloyd A. Holmes (herein “President
        8
             Holmes”),"^ Patrick Ahrens (herein “Trustee Ahrens”), Laura Casas (herein “Trustee Casas”),
        9
             Pearl Cheng (herein “Trustee Cheng”), Peter Landsberger (herein “Trustee Landsberger”), Gilbert
        10
             Wong (herein “Trustee Wong”), Alicia Cortez(herein “Dean Cortez”), Thomas Ray (herein
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        11
             “Interim Associate Vice President for Instruction Ray” or “AVPI Ray”), Christina Espinosa-Pieb
s
        12
El           (herein “Vice President for Instruction Espinosa-Pieb” or “VPI Espinosa-Pieb”) and Lydia Hearn
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Z z
             (herein “Interim Associate Vice President for Instruction Hearn” or “AVPI Hearn”)(collectively
2 E:    14
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                 Defendants”) will and hereby do move this Court to dismiss Plaintiffs Second Amended
Q
<N      15
<            Complaint (herein “Second Amended Complainf’ or “SAC”)pursuant to Rule 12(b)(6) of the
cu

        16   Federal Rules of Civil Procedure.

        17
                       This Motion is brought pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure,
        18
             and is based upon this Notice of Motion and Motion, the Memorandum of Points and Authorities,
        19
             Plaintiffs Second Amended Complaint(“SAC”), any and all relevant papers filed in this case,
        20
             and such other further oral and documentary evidence and memoranda that may be presented to
        21   this Court.

        22

        23

        24
             1
        25     The District is comprised of two colleges: De Anza College and Foothill College.
             ^ De Anza College is part of the District, is not a separate public entity subject to suit, and
        26   therefore a redundant party that should be dismissed.
             ^ Lee Lambert is Chancellor of the District and is sued in his official capacity only. Plaintiff
        27   added Chancellor Lambert as a Defendant in the SAC. Chancellor Lambert commenced
        28   employment with the District after Plaintiff initiated this lawsuit.
              Holmes is the former President of De Anza College as of the filing of the SAC.


             NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION                              4895-7937-2230
             CASE NO. 5;23-CV-03418-PCP
              Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 14 of 37



         1                       MEMORANDUM OF POINTS AND AUTHORITIES

        2                             I.    INTRODUCTORY STATEMENT


                    Plaintiff Tabia Lee (herein “Plaintiff’ or “Lee”)filed a Second Amended Complaint
        4
             (herein “SAC”)on May 31, 2024. The SAC was filed following the Court’s May 7, 2024 Order
        5
             On Motion To Dismiss(ECF No. 51, herein “May           Order”), which dismissed all seven Counts
        6
             in Plaintiffs First Amended Complaint (herein “FAC”)(ECF No. 27), three with leave to
        7
             amend.^   The three Counts dismissed, with leave to amend as set forth with particularity in the
        8
             Court’s May 7^'’ Order, were the following : (1)First Amendment Free Speech (42 U.S.C. §
        9
             1983)(herein “First Amendmenf’); (2) Title VII of the Civil Rights Act of 1964(42 U.S. C. §
        10
CL           2000-e)(herein “Title VII”); and (3) California’s Fair Employment and Housing Act(Gov’t Code
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hJ      11
z
<            § 12940 et seq.)(herein “FEHA”).
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        12
S3
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        13          The Court’s May 7"^ Order was specific as to the central pleading deficiencies in
2I3
2 p *
        14   Plaintiffs FAC regarding her First Amendment, Title VII, and FEHA claims, and what Plaintiff
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<N      15
 <           would be required to plead to cure those deficiencies in any amended complaint she chose to file.
Q.


        16   As addressed herein, instead of curing the deficiencies in the First Amended Complaint, Lee

        17   largely rehashes, in voluminous form, allegations that she included in each prior version of her

        18   complaint, and which this Court has dismissed as insufficient to state a claim. To the extent her

        19   allegations are new to the Second Amended Complaint, they are largely conclusory statements

        20   and/or language-smithing, rather than plausibly alleged facts sufficient to state a claim.

        21          Defendants District, De Anza College, Holmes, Lambert, Ahrens, Casas, Cheng, Wong,

        22   Cortez, Ray, Espinosa-Pieb, and Hearn (collectively “Defendants”) now move under Rule

        23   12(b)(6) to dismiss all claims under the First Amendment, Title VII, and FEHA (Counts I

        24   through 5)in Plaintiffs Second Amended Complaint on the grounds set forth herein.

        25

        26

        27
             ^ The Court dismissed the following Counts in the FAC without leave to amend: Count 2(Title
        28   VI); Count 3 (Cal. Const., Art. 1, Sec. 2(a)); Count 4(Wrongful Termination - FEHA); and
             Count 5 (Wrongful Termination - Cal. Const., Art. 1, Sec.(8)).
                                                               2

             NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
             CASE NO. 5:23-CV-03418-PCP
                Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 15 of 37



           1           The Court should grant Defendants’ Motion to Dismiss in its entirety and dismiss all five

          2    Counts against all Defendants without leave to amend on the grounds set forth herein.

          3                    II.   LEGAL STANDARDS FOR MOTION TO DISMISS

          4
                       Federal Rule of Civil Procedure section 12(b)(6) provides that a complaint(or a particular
          5
               claim for relief) may be dismissed at the outset for “failure to state a claim upon which relief can
          6
               be granted.” Rule 12(b)(6) motions test “the legal sufficiency of the complaint.” Navarro v.
          7
               Block, 250 F.3d 729, 732(9* Cir. 2001). To survive a motion to dismiss, a complaint must
          8
               contain sufficient factual matter to “state a claim to relief that is plausible on its face.” c, citing
          9
               Bell Atlantic Corp. v. Twombly, 550 U.S. 455, 570(2007). On a motion to dismiss, the trial court
          10
               must accept the factual allegations of the complaint as true. Iqbal,supra, 556 U.S. at 678;
Dh

          11
               Twombly,supra, 550 U.S. at 570. However, this standard does not apply to conclusory
          12
X
U j            allegations or legal conclusions. “Threadbare recitals of the elements of a cause of action,
tn    2   13
O >   5
Z z            supported by mere conclusory statements, do not suffice.” Iqbal, supra, 556 U.S. at 678.
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               Moreover, the court need not accept as true allegations contradicted by judicially noticeable facts,
<N        15
<              see Shwarz v. United States, 234 F.3d 428, 435 (9th Cir. 2000), and it "may look beyond the
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          16
               plaintiffs complaint to matters of public record" without converting the Rule 12(b)(6) motion into
          17
               a motion for summary judgment, Shaw v. Hahn, 56 F.3d 1128, 1129, n.l (9* Cir. 1995). Nor
          18
               must the Court "assume the truth of legal conclusions merely because they are cast in the form of
          19
               factual allegations." Payer v. Vaughn,649 F.3d 1061, 1064(9* Cir. 2011){per curiam). Mere
          20
               "conclusory allegations of law and unwarranted inferences are insufficient to defeat a motion to
          21
               dismiss." Adams v. Johnson, 355 F.3d 1179, 1183(9* Cir. 2004).
          22
                       Ascertaining whether the complaint is factually plausible is a “context-specific task that
          23
               requires the reviewing court to draw on its judicial experience and common sense.” Iqbal, supra,
          24
               556 U.S. at 679. Moreover, the “well-pleaded facts” rule requires more than the mere possibility
          25
               of misconduct.” Ibid. The complaint must'‘show that the [plaintiff] is entitled to relief” Ibid.,
          26
               quoting Federal Rule of Civil Procedure 8(a)(2), emphasis supplied. See Starr v. Baca, 652 F.3d
          27
               1202, 1214-16(9* Cir. 2011).
          28
                                                                   3

               NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
               CASE NO. 5:23-CV-03418-PCP
                    Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 16 of 37



               1                                        III. ARGUMENT

              2     A.    Count 1 Must Be Dismissed Because Plaintiff Has Failed To Adequately Allege A
                          First Amendment Free Speech Retaliation Claim For Damages Under 42 U.S.C. $
              3
                          1983 Against Individual Defendants Holmes, Espinosa-Pieb, Ray. Hearn Or Cortez
              4
                          Count 1 is a claim for damages under 42 U.S.C. § 1983 (“Section 1983”) brought against
              5
                   Defendants Holmes, Espinosa-Pieb, Ray, Hearn and Cortez(herein collectively “Individual
              6
                   Defendants”) in their individual capacities for alleged retaliation against Lee in violation of the
              7
                   First Amendment(Free Speech)(herein “First Amendment Retaliation Claim”). Plaintiff has
              8
                   failed to adequately allege plausible facts of a First Amendment Retaliation claim for damages
              9
                   against any individual Defendant sued in their individual capacity sufficient to cure the
              10
                   deficiencies identified by the Court in granting leave to amend.
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              11
                              1.    Legal Standard For Stating A First Amendment Retaliation Claim Under
s
a.            12                    42 U.S. C.§ 1983 Against An Individual Defendant
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O > 2
     < g      13          There are two elements to a Section 1983 claim: (1)“that a right secured by the
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LU <          14   Constitution...was violated, and (2)that the alleged violation was committed by a person acting
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<N            15   under the color of state law.” ECF No. 51, 6:9-11, citing long v. Cnty. o/LH.,442 F.3d 1178,
c-

              16   1185(9* Cir. 2006). Additionally, a “plaintiff must also demonstrate that the defendant’s

              17   conduct was the actionable cause of the claimed injury” (i.e. causation-in-fact and proximate

              18   causation). ECF No. 51, 6:9-11, citing Harper v. City ofL.A., 533 F.3d 1010, 1026(9* Cir.

              19   2008). In this regard, a Section 1983 claim does not support vicarious liability. See OSUStudent

              20   All V. Ray,699 F.3d 1053, 1069 (9'^ Cir. 2012)(citations omitted). “[E]ach government official,

              21   his or her title notwithstanding, is only liable for his or her own misconduct.” Id., citing Ashcroft

              22   V. Iqbal, 556 U.S. 662, 667(2009). Therefore, “[t]o state a valid [Section] 1983 claim,‘a plaintiff

              23   must plead that each government-official defendant, through the official’s own individual actions,

              24   had violated the Constitution.” Id. (emphasis added.) A person deprives another of a

              25   constitutional right under Section 1983 only “if he does an affirmative act, participates in

              26   another’s affirmative acts, or omits to perform an act that he is legally required to do.” Leer v.

              27   Murphy, 844 F.2d 628,633 (9^’’ Cir. 1988)(internal quotations omitted). The inquiry into

              28   causation “must be individualized and focus on the responsibilities of each individual defendant

                                                                     4

                   NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                   CASE NO. 5;23-CV-03418-PCP
                 Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 17 of 37



            1   whose acts or omissions are alleged to have caused a constitutional deprivation.” Leer,supra.

           2    844F.2dat633.

           3           Additionally, to state a First Amendment Retaliation Claim a plaintiff must plausibly

           4    allege that “(1)[plaintiff] was engaged in a constitutionally protected activity,(2)the defendant’s

           5    actions would chill a person of ordinary firmness from continuing to engage in the protected

           6    activity, and (3)the protected activity was a substantial or motivating factor in the defendant’s

           7    conduct.” ECF No. 51, 8:20-24 (internal quotations omitted), citing Capp v. Cnty ofSan Diego,

           8    940 F.3d 1046, 1053 (9'’’ Cir. 2019). Moreover, the “plaintiff must show that the defendant’s

           9    retaliatory animus was a ‘but-for’ cause” ofthe plaintiffs injury “meaning that the adverse action

           10   against the plaintiff would not have been taken absent the retaliatory motive.” Id.
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                           2.    The Court’s May 7'** Order Specifying What Lee Must Plausibly Allege In
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c-         12                    Any Amended Complaint To State A First Amendment Retaliation Claim^
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u -j                             Against Any Of The Individual Defendants
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Z Z                    The Court’s May 7‘^ Order dismissed, with leave to amend, Lee’s individual capacity First
I i'
03 <       14
03              Amendment(Retaliation) claims against Defendants Holmes, Espinosa-Pieb, Ray, Hearn and
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<               Cortez on the ground that they were impermissibly vague under Rule 8 and not clear enough to
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                enable each Defendant to respond because:
           17
                           ●    the FAC did not specify which of the individual defendants Lee claimed retaliated
           18
                                against her and how;
           19
                           ●    the FAC did not explain how each defendant’s actions proximately caused her
           20
                                harm;
           21
                           ●    not all ofthe speech discussed in the FAC was equally protected; and
           22
                           ●    it was not entirely clear in the FAC which speech Lee asserts was the basis for
           23
                                each defendant’s alleged retaliation, and whether that speech was academic speech
           24
                                or speech made pursuant to Lee’s official duties.
           25
                ECF No. 51,9:3-9.
           26
                        Per the Court’s May 7'^ Order, for Lee to adequately state a First Amendment claim
           27
                                                                                                                    th
           28   ^ As addressed below, Count 2 is a claim for First Amendment Censorship. The Court’s May 7
                Order in this regard also applies to Count 2.
                                                                 5

                NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                CASE NO. 5:23-CV-03418-PCP
               Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 18 of 37



          1   against an individual Defendant in any amended complaint, Lee must: “for each claim, identify

         2    the protected speech, how particular defendants violated her free expression rights with respect to

          3   that speech, and how defendants’ actions caused her injuries.” ECF No. 51, 9:9-12. Regarding

         4    the particular speech at issue, in order to plead that particular speech is protected by the First

         5    Amendment, Lee “must plausibly allege that it was either (1) academic speech on a matter of

         6    public concern and thus potentially protected under Demers,^ or(2) not made pursuant to her

         7    official responsibilities and thus potentially protected under Garcetti.   (Emphasis added.) ECF

         8    No. 51, 7:8-12. The Court noted Lee’s official duties as the Faculty Director ofthe Office of

         9    Equity, Social Justice, & Multicultural Education (herein “Faculty Director”)from portions of

         10   Lee’s job description partially quoted by Plaintiff in the SAC. Also noted was the fact that many
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         11   of the statements that Lee discussed in her First Amended Complaint appeared to be speech that
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         12   was made pursuant to Lee’s official duties but that involved neither teaching nor academic
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         13   writing.   ECF No. 51,7:12-27. The Court concluded that Lee had not adequately pleaded that
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ui   <   14   the speech at issue was protected under either Demers or Garcetti, or that she was prevented from
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N        15   making any protected speech or retaliated against on the basis of such speech. ECF No. 51, 7:12-
C.

         16   13, 8:3-5. In addition to the above pleading requirements regarding each individual Defendant, in

         17   any amended complaint: “Dr. Lee must identify the specific academic or non-official speech that

         18   she contends was censored or a basis for retaliation.” ECF No. 51, 8:5-7.

         19               3.    Plaintiff Has Not Adequately Pleaded That Her Alleged Speech At Issue In
         20                     Count 1 Was Speech Protected By The First Amendment

                      To adequately state a First Amendment claim, Plaintiff was required by the May 7''’ Order
         21
              to plausibly allege as a threshold element that the speech she claims was protected by the First
         22
              Amendment was either (1) academic speech on a matter of public concern and thus potentially
         23

         24

         25   ’ Demers v. Austin, 746 F.3d 402, 412 (9* Cir. 2014) (holding that Garcetti does not apply to
              teaching and academic writing that are performed pursuant to the official duties of a teacher or
         26   professor).
              ^ Garcetti v. Ceballos, 547 U.S. 410, 417, 421 (2006) (when public employees “make statements
         27
              pursuant to their official duties, the employees are not speaking as citizens for First Amendment
         28   purposes, and the Constitution does not insulate their communications from employer
              discipline.”)
                                                                 6

              NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
              CASE NO. 5:23-CV-034I8-PCP
               Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 19 of 37



         1   protected under Demers, or(2) not made pursuant to her official responsibilities and thus

        2    potentially protected under Garcetti. ECF No. 51, 7:8-12. Additionally, she was also required to

        5    identify the specific academic or non-official speech that she contends was the basis for

        4    retaliation. ECF No. 51, 8:5-7. Count 1 does not meet this pleading threshold for protected

        5    speech.

        6            Plaintiff was a Faculty Director, a resource faculty position. She was not a “professor” or

        7    a classroom teacher as she now claims in an attempt to elevate the speech at issue in her SAC to

        8      academic speech” under Demers. As the May 7'*’ Order noted, Lee’s formal job responsibilities

        9    as Faculty Director, according to her job description, included: “facilitating an institution-wide

        10   transformation that realizes and promotes our commitment to equity, social justice, and
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hJ      11   multicultural education for students, classified professionals, faculty and administrators”;
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             ii,
Cl.
        12     supporting the college’s equity plan by working collaboratively with and mentoring teachers and
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        13   non-teaching faculty and classified professionals in culturally responsive and transformative
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w <     14   curriculum and pedagogy;” “making ‘report outs’ to the Academic Senate;” and “designing
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<N      15
<            instructional workshops and programs.” ECF No. 51, 7:1-20. See Request for Judicial Notice
c.

        16   (herein “RJN”), Exhibit 1 to Declaration of Jayne Chipman (herein “Deck of Chipman”). Within

        17   this context of her Faculty Director role, the Court further noted that many of the statements that

        18   Lee discussed in her First Amended Complaint appeared to be speech that was made “pursuant to

        19   [her] official duties but that involved neither teaching nor academic writing:” statements at team

        20   meeting, email to Office of Research, unspecified “objection” to land acknowledgement, “report-

        21   ouf’ to Academic Senate. ECF No. 51, 7:12-13, 8:3-5. Lee’s duties as Faculty Director and her

        22   job description have not changed between the First and Second Amended Complaints. Her job

        23   title during her employment did not include “College Professof’and her role within the College

        24   was as a mentor to “teaching and non-teaching faculty and classified professionals” and not as an

        25   instructional “teaching” faculty member as she now incorrectly attempts to imply through her

        26   assertions in the SAC. See e.g. SAC      30, 31, 45, 46, 69, 130, 195, 259. Moreover, simply

        27   labeling the same set of speech and activities alleged in the FAC which the Court stated appeared

        28   to be “speech that was made as part of Lee’s official duties but that involved neither teaching nor
                                                              7

             NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
             CASE NO. 5:23-CV-03418-PCP
                 Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 20 of 37



            1   academic writing,” as now “related to matters of pedagogy, scholarship, and/or matters of public

           2    concern” does not meet the threshold to plausibly allege that such speech performed as part of

           3    Lee’s job duties was protected speech under the First Amendment. See e.g. SAC           239-241

           4    (Count 1).

           5            Count 1 lists 8 items of speech that Plaintiff asserts was “constitutionally protected

           6    speech,” but she does not specify the basis for the constitutional protection (academic speech on a

           7    matter of public concern or speech not made pursuant to her official duties) as required. Count 1

           8    simply alleges that all writings and speech “on these subject matters” (referring to SAC,^ 204)

           9    were “related to pedagogy, scholarship, and/or matters of public concern.” SAC, 241.

           10   However, sifting through the SAC for factual examples of each of the 8 items of alleged
Ch

           11   constitutionally protected speech, it is apparent that the 8 items are simply many of the same
s
Cl.        12   alleged instances of speech that the Court previously found were insufficient to allege First
      5i   13                                                                                                     99

O > s           Amendment protection, now “dressed up” with insertion of the words “pedagogy,” “teaching,
z S 2
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      <         and “scholarship”:
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c.                  ●   Reports to public sessions of the Academic Senate: There are two instances specified in
           16
                        the SAC where Lee alleges she spoke to the Academic Senate. The first is Lee’s
           17
                        November 29, 2021 “report ouf’ to the Academic Senate, which she now asserts
           18
                        (incorrectly)“directly addressed pedagogy” and not personal complaints or minutiae of
           19
                        any particular individual’s role. SAC,     34, 100-108. Lee’s “report out” speech was
           20
                        later circulated by Lee on December 1, 2021 as part of her Faculty Director quarterly
           21
                                                                                                             99
                        newsletter. SAC,T1105. SAC,        162-165. Lee’s November 21, 2021 “report out
           22
                        demonstrates that it was simply a report by the Faculty Director at the end of the Fall
           23
                        quarter of her own experiences in her role as Faculty Director and her frustration with the
           24
                        role’s limitations (“I do not supervise or direct anyone but myself, 1 do not set policy, I
           25
                        truly don’t even really lead or act without the guidance of my Dean, tenure committee,
           26
                        and senior leadership; noting that if I step out of their gaze or wishes, ... I may swiftly no
           27
                                                                                                                  99
                        longer be serving in this role.”). RJN,Exhibit 2 to Deck of Chipman. The “report out
           28
                                                                  8

                NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                CASE NO. 5:23-CV-03418-PCP
             Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 21 of 37



         1          was not an effort to directly address pedagogy at De Anza or make broad proposals of

        2           directional change as asserted by Lee. SAC,^ 106. The second is Lee’s unspecified
                    a
        3            speaking out” in Spring 2022 to the Academic Senate on the proposal to give “affinity

        4           groups” “special voting rights in the Academic Senate” as part of her “work with shared
                                                                                         999
        5           governance groups” and job duty to “’facilitate inclusive processes,       These examples are

        6           insufficient to allege protected academic speech.

        7
                ●   Emails and newsletters to all De Anza faculty and administrators: This example seems to
        8
                    be comprised of the December 1, 2021 Newsletter addressed immediately above that
        9
                    included text of Lee’s “report ouf’ to the Academic Senate. It is insufficient to
        10
Ch                  demonstrate protected academic speech.
-1      11
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<
G,      12          Criticism of Defendants’ practice and policy of intentionally misspelling foreign words
X
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U
        13          like “Latino”: This category is comprised of a mid-November email exchange with the
Z z j


II^
w <     14          Supervisor of Institutional Planning and Research, Mallory Newell. RJN, Exhibit 3 to
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N       15          Deck of Chipman. The SAC characterizes this email exchange as Lee “speaking ouf’ on
C-
                    u
        16              a matter of public concern and pedagogy.” However, despite this characterization, the

        17          email exchange only included three people (including Lee) and the email exchange

        18          document demonstrates that it was initiated by Lee only to “seek more information about

        19          the use of certain social category names” such as the use of“Latinx” and “Filipinx” at the

        20          College. SAC,        87-91. It is likewise insufficient to demonstrate that Lee was engaged

        21          in protected academic speech.

        22
                    Opposition to illegally segregated “affinity groups” and “safe spaces”: This example is
        23
                    comprised of Lee’s discussion with colleagues, including Adriana Garcia, Tony Santa
        24
                    Ana, and Francesca Caparas at the October 4, 2021 Office of Equity team meeting that
        25
                    Lee alleges was part of her job duties. SAC,      70-84. This is an example that Lee has
        26
                    used before. Lee now claims, implausibly, in the SAC that “these meetings convened to
        27
                    address substantial changes to pedagogy at De Anza,” without any facts to back up this
        28
                                                               9

             NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
             CASE NO. 5:23-CV-03418-PCP
               Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 22 of 37



           1          conclusory statement. SAC,f 72. As addressed above, Lee also allegedly spoke to the

          2           Academic Senate in Spring 2022(addressed above) on the topic of affinity groups and

          3           Academic Senate “voting rights,” again as part of her job duties. SAC,^165. These

          4           examples are insufficient to allege protected academic speech.

          5
                  ●   Criticism of Defendants’ “land acknowledgemenf’: Lee alleges that she objected to the
          6
                      Office of Equity’s Land Acknowledgement SAC           92-98. In this regard, Lee now
          7
                      alleges that she objected as a “faculty member addressing issues of public concern that
          8
                      directly had impact on pedagogy at the community college.” No specific facts are
          9
                      provided such as the date, manner or audience are provided in the SAC. This is likewise
          10
Cu                    insufficient to allege protected academic speech.
hJ
          11
2
<
S
a.        12          Criticism of Black Lives Matter and leading students in posing benign questions to its
X
U

U-)       13          founder Ms. Garza: Lee moderated a public event with “Black Lives Matter author Alicia
2 z 2
2 0 **^
2
ui <      14          Garza” at the College (held via Zoom)on October 8, 2021. Lee has added in the SAC that
UJ
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<N        15
 <                    her moderating this event, which also involved students, was a “teaching and pedagogical
C-

          16          activity.” Lee worked with students on questions to ask Ms. Garza. However, Garza’s

          17          book agent insisted that Dr. Lee restrict questions to Garza to those from a list of scripted

          18          questions. Nonetheless, Lee prompted students at the public event to ask Ms. Garza their

          19          own follow up questions, prompting Ms. Garza to turn off her video camera. Lee alleges

          20          that she was trying to “optimize the educational value for students” participating in the

          21          workshop by prompting them to ask their own questions. SAC,          52-58. Lee’s

          22          moderating the event and working with students is not protected academic speech.

          23
                      Opposition to prevalent anti-Semitism on the District campuses and advocacy of Jewish
          24
                      heritage events: Lee complained to Dean Cortez about anti-Semitism on campus, and
          25
                      held a “Jewish Inclusion Summh”(February 24, 2022) as part of her work “teaching on
          26
                      campus” as Faculty Director. She also objected to Cortez about Adriana Garcia (Office
          27
                      Of Equity Administrative Assistant) allegedly posting resources about anti-Zionism
          28
                                                                10

               NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
               CASE NO. 5:23-CV-03418-PCP
                  Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 23 of 37



              1          during a January 26, 2022 Hillel presentation to the Equity Action Council in a chat. Lee

             2           viewed Garcia’s action as “disrespectful.” Lee further raised concerns with Dean Cortez

             3           that De Anza should recognize International Holocaust Remembrance Day and Jewish

             4           Heritage Month. SAC,        125-127, 130-139. Again, these allegations do not amount to

             5           protected academic speech.

             6
                         Criticism of“third-wave anti-racism.” including but not limited to her publication on this
             7
                         topic in the Journal of Lree Black Thought: Lee criticized (unspecified) “third wave
             8
                         antiracism”(which she opposes)“in her scholarship” and in “teaching” at De Anza
             9
                         (unspecified). On February 28, 2023,^ she published on the topic in the Journal of Free
             10
Ch                       Black Thought(an online journal and community of heterodox scholars and public
hJ
hJ           11
z
<                        intellectuals). She also published a workshop module in Free Black Thought on January
2
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                         17,2023. SAC,       45-46, 143.
to
U
             13
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Z
u <          14          With the possible exception of Lee’s publishing in the Journal of Free Black Thought, she
Q
<            15
N
<                 has failed to adequately plead that her statements/actions set forth in Count 1 (SAC,]| 240) were
a.

             16   constitutionally protected speech, as opposed to speech that involved Lee’s official duties but

             17   involved neither teaching nor academic writing. All alleged “speech” activities in Count 1, with

             18   the possible exception of publishing in Free Black Thought, were part of Lee’s official duties as

             19   Faculty Director and, despite being labeled in the SAC as “teaching,” or related to scholarship or

             20   pedagogy, the alleged facts or those subject to Judicial Notice, point to the conclusion that the

             21   speech was not protected academic speech under Demers. Therefore, Count 1 should be

             22   dismissed because she has failed to plausibly plead that she “engaged in constitutionally protected

             23   activity” as required to state a First Amendment Retaliation claim.

             24              4.    Plaintiff Has Not Identified As Required For Each Defendant How The
                                   Defendant Violated Any Of Her Protected Speech Or How The Defendant’s
             25                    Alleged Violation Caused Her Injury
             26          To adequately state a claim for damages against each individual Defendant in their

             27

             28   ^ This was after her Tenure Review Committee (Phase II) decided on February 10, 2023 that
                  Lee’s contract employment should not be renewed for the following Academic Year.
                                                                11

                  NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                  CASE NO. 5:23-CV-03418-PCP
                 Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 24 of 37



            1   individual capacity Plaintiff was required “for each claim,[to] identify the protected speech, how

           2    particular defendants violated her free expression rights with respect to that speech, and how

           3    defendants’ actions caused her injury.” ECF No. 51, 9:9-12. As addressed immediately above.

           4    Plaintiff has not adequately pleaded that she engaged in “protected speech”(with the possible

           5    exception of her publishing in Free Black Thought). In this regard, one of Plaintiffs publications

           6    in Free Black Thought was not “published” until February 28, 2023, after Lee had been notified

           7    by Chancellor Judy Miner on February 23, 2023 that she would recommend to the Board that

           8    Lee’s employment as a contract faculty member not be renewed for the 2023-2024 Academic

           9    Year. SAC,^ 45 (“This included a publication in the Journal of Free Black Thought, published

           10   February 28, 2023, in the midst of her tenure evaluation”). RJN, Exhibit 4 to Deck of Chipman.
Ph
           11          In addition. Count 1 still fails to specify for each individual Defendant how the particular
Z

2
c.         12   Defendant violated Lee’s alleged free speech rights with respect to any particular speech, or how
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     < g   13
CO
O > 2           the Defendant’s alleged actions were the “but for” cause of any constitutional violation resulting
Z 2 5
  K <
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Z          14
M <             in the primary harm Plaintiff is claiming - her termination. Indeed, while Count 1 does purport to
U
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<          15
<N              list “retaliatory actions” by each individual Defendant, Count 1 fails entirely to identify for any
a.

           16   Defendant the specific allegedly protected speech, and how the particular Defendant violated her

           17   free expression rights to that speech as required (i.e. no link). ECF No. 51, 9:9-12. Rather, for

           18   eaeh individual Defendant, Count 1 simply lists alleged “actions” by the Defendant in conclusory

           19   statements (without dates or factual details) that are often phrased as conclusory legal assertions

           20   not entitled to a presumption of truth under Iqbal/Twombly. Iqbal, supra, 556 U.S. at 678.

           21   Moreover, Plaintiffs rote incorporation ofthe 236 Paragraphs that precede Count 1, irrespective

           22   of their topic or relationship to any individual Defendant, does not provide the requisite fair

           23   notice required under Rule 8(a)(2) for each Defendant’s direct, personal responsibility for the

           24   harm that Plaintiff primarily alleges (her termination) supposedly resulting from the particular

           25   Defendant’s retaliation for exercising free speech rights.

           26          Regarding President Holmes, the three alleged “actions” are conclusory and fail to

           27   plausibly plead sufficient facts of“how” President Holmes violated her constitutional rights or

           28   link his alleged actions to any particular protected speech. The conclusory statements:
                                                                  12

                NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                CASE NO. 5:23-CV-034I8-PCP
                 Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 25 of 37



            1   participation in Lee’s termination “with full knowledge that her termination was in retaliation for

           2    her protected academic speech;” “refused to act on, and even condoned, behaviors complained

           5    about in Lee’s grievances submitted through the District’s formal channels;” and “presided over

           4    her termination through a pretextual tenure and promotion review process in which she was

           5    expressly condemned for her viewpoints,” are simply insufficient under Iqbal/Twombly. Plaintiff

           6    also fails to allege plausible facts of how President Holmes’ actions were the “but for” cause of

           7    any constitutional harm to Plaintiff for which Holmes could be liable for damages. SAC,1247.

           8           Regarding Vice President Espinosa-Pieb, the two alleged retaliatory “actions” are:
                u
           9     Directed the De Anza communications team to remove all promotion of Dr. Lee’s workshops

           10   from the College’s events calendar;” and “Delisted Dr. Lee’s events and workshops from
Cu
           11   eligibility for professional development credits.” SAC,1248. Plaintiff fails to allege plausible
s
c.         12   facts of how Vice President Espinosa-Pieb’s actions were the “but for” cause of any constitutional
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o
           13   harm to Plaintiff, or link them to any specific protected speech of Plaintiff. Vice President
Z o
z r:       14
u <             Espinosa-Pieb had no involvement in Plaintiffs tenure review process leading to her nonrenewal.
Q
<          15
<N              Moreover, as noted by the Court, the College’s decision to decline to promote, endorse, or
a.
           16   circulate Lee’s speech would not be a constitutional violation. ECF,51 No. 8:13-19.

           17          Regarding AVPI Ray,the five alleged retaliatory actions are: Lee was terminated with

           18   Ray’s “direct help”; “Directed the De Anza communications team to remove all promotion of Dr.
                                                                      ')’> it
           19   Lee’s workshops from the College’s events calendar;         Delisted Dr. Lee’s events and workshops

           20   from eligibility for professional development credits;” directed “others” not to work with Dr. Lee;

           21   and participated in the decision to terminate Lee. SAC,IfTj 243-244. Plaintiff fails to allege

           22   plausible facts of how AVPI Ray’s actions were the “but for” cause of any constitutional harm to

           23   Plaintiff, or link them to any specific protected speech of Plaintiff. This includes AVPI Ray’s

           24   participation on Lee’s Phase II Tenure Review Committee governed by the collectively bargained

           25   tenure review procedures and the California Education Code. Moreover, similar to Espinosa-

           26   Pieb, as noted by the Court, the College’s declining to promote, endorse, or circulate Lee’s speech

           27   would not be a constitutional violation. ECF,51 No. 8:13-19.

           28          Regarding AVPI Hearn, who was only on Plaintiffs Tenure Review Committee during
                                                                 13

                NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                CASE NO. 5:23-CV-03418-PCP
              Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 26 of 37



         1   Phase I, the two alleged retaliatory acts are as follows; submitted a “retaliatory evaluation as part

        2    of Dr. Lee’s tenure review process” which allegedly cited “Dr. Lee’s expression of controversial

        3    (unspecified) viewpoints” as the reason for the negative evaluation. Ultimately participated in the

        4    deeision to terminate Lee. Plaintiff fails to allege plausible facts of how AVPI Hearn’s actions

        5    were the “but for” cause of any constitutional harm to Plaintiff, or link them to any specific

        6    protected speech of Plaintiff. With respect to the “but for” cause element, all of Hearn’s

        7    participation on the Tenure Review Committee occurred in Phase I, following which Lee was

        8    moved on to Phase II. As such, even assuming for the sake of argument that Hearn gave Lee a
             Hi
        9     negative” evaluation, there is a lack of“but for” causation with respect to Lee’s nonrenewal as

        10   Hearn exited the process a year before the actual non-renewal decision. SAC,1||245-246.
pH
        11          Regarding Dean Cortez, the seven alleged retaliatory actions are: ordered removal of
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s
a.      12   events from the College calendar; “De-listed” Lee’s events and workshops for eligibility for
V

(/)     13   professional development credit; Declared that Lee was no longer department chair when she was
O i
Z z J
z P
u <     14   listed on the [Academic Senate’s] website; Directed others not to work with Lee; Instituted new
Q
<N      15
<            and onerous procedures for the approval of Dr. Lee’s workshops; “Excluded” Lee from
a.
        16   participation in the Equity Action Council; and “Ultimately participated in the decision to

        17   terminate Dr. Lee in retaliation for her protected activity.” ^ 242. Plaintiff fails to allege

        18   plausible facts of how Dean Cortez’s actions were the “but for” cause of any constitutional harm

        19   to Plaintiff, or link them to any specific protected speech of Plaintiff This includes Dean

        20   Cortez’s participation on Lee’s Phase I and II Tenure Review Committee governed by the

        21   collectively bargained tenure review procedures and the California Education Code. Moreover,

        22   similar to Espinosa-Pieb and Ray, as noted by the Court, the College declining to promote,

        23   endorse, or circulate Lee’s speech would not be a constitutional violation. ECF,51 No. 8:13-19.

        24          Plaintiffs failure to allege “individual” and “specific” plausible facts linking the alleged

        25   actions of each individual Defendant with an intent to retaliate against Plaintiff for any of her

        26   alleged constitutionally protected speech resulting in constitutional harm requires dismissal of

        27   Count 1 against each Defendant sued in their individual capacity for damages. Plaintiff has not

        28   cured these pleading deficiencies following specific instructions from the Court about what was
                                                               14

             NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
             CASE NO. 5:23-CV-03418-PCP
               Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 27 of 37



          1   necessary to plead a cause of action. At this juncture, Count 1 should be dismissed against each

         2    individual Defendant without leave to amend.

          3        B.   Count 2 Must Be Dismissed Because Plaintiff Has Failed To Adequately Allege A
                        First Amendment Free Speech Censorship Claim For Damages Under 42 U.S.C. §
         4
                        1983 Against Holmes, Espinosa-Pieb, Ray, Hearn Or Cortez
         5
                        Count 2 is a claim for damages under Section 1983 against the Individual Defendants in
         6
              their individual capacities for alleged censorship of Plaintiffs First Amendment right to freedom
         7
              of speech. In its May 1^'^ Order, the Court dismissed Lee’s censorship claims in the FAC (with
          8
              leave to amend)on the ground that Plaintiff had not sufficiently alleged that she had been
         9
              prevented from making any protected speech. ECF No. 51, 8:8-19. In so ruling, the Court
         10
CL            reviewed Plaintiffs alleged acts of“censorship” in the FAC: the College “erased” her from its
         11
Z
<             website(FAC 138); declined to endorse Lee’s presentations and pedagogical materials as
         12
S3             official activities”(FAC 1116); removed Lee’s events from the “College Events Calendar’;”
■8 5 2
         13
ill           (4

               delisted” Dr. Lee’s events as available for continuing education credit for faculty; and prevented
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—.
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     <   14
              Lee from publishing on the Office of Equity’s webpage. EFC No. 51, 8:8-13. The Court noted
N        15
<                                                                                                                .95
cu            that “[t]he First Amendment does not prevent the government from declining to express a view
         16
              (citing Shurtleffv. City ofBoston, 596 U.S. 243, 251 (2022)). The Court concluded that
         17
              44
               censorship” allegations as pleaded in the FAC: “do not suggest any ways in which the College
         18
              or any ofthe individual defendants prevented her from speaking or imposed any sort of prior
         19
              restraint. Instead, the existing allegations suggest instances where the College declined to
         20
              promote, endorse, or circulate Dr. Lee’s speech. ECF No. 51, 8:17-19.
         21
                        Count 2 is so convoluted that it is unclear exactly what Plaintiffs claim of censorship is.
         22
              Plaintiff appears to claim that workshop materials titled “The Race and Racial Equity What’s It to
         23
              You?” that Plaintiff created as part of her Faculty Director job duties are academic writing
         24
              because they were published in January 2023. However, months before they were published, she
         25
              44

               sought to presenf’ these materials at De Anza beginning in October 2022. SAC,^ 253. Yet, she
         26
              was somehow not able to present the workshop at De Anza because the College’s
         27
              communications team elected not to “promote” Plaintiffs “workshops” and “de-listed” Plaintiffs
         28
                                                                 15

              NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
              CASE NO. 5:23-CV-03418-PCP
              Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 28 of 37



         1   workshops from eligibility for faculty professional development credits. SAC,THj 252-254. This

        2    makes no sense, particularly in light of the Court’s May     Order which declined to draw the

        3    conclusion that the College’s lawful decision not to promote, endorse or circulate Plaintiffs

        4    speech equated to a prior restraint or otherwise prevented Plaintiff from speaking on any matter.

        5    Additionally, Plaintiff also seems to assert in Count 2, without any plausibly alleged facts or

        6    common sense, that because Plaintiffs two year tenure review process concluded before her

        7    article was published in the Journal of Free Black Thought on February 28, 2023, the non-renewal
                                                                                                        99
         8   decision was somehow a decision to “prevent the spread of such impermissible thoughts.

        9    However, Plaintiffs employment with the District did not end until June 30, 2023 -four months

        10   after the publication of her article. Therefore, she was not in any way prohibited from speaking
Ch

        11   about her thoughts as Faculty Director after her notification of her non-renewal. SAC,^ 235.
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Cm
        12   Count 2 must therefore be dismissed against all Defendants (individual or official capacity)
X
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to      13   without leave to amend.
ii <
Z p ^
Z
w <     14    C.    Counts 1 And 2 Fail To State A Claim For Prospective Injunctive Relief Against
w
D                   Defendants Sued In Their Official Capacities
<
N       15
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a.
                    Counts 1 and 2 seeks a form of prospective injunctive relief — Plaintiffs reinstatement to
        16
             her job. SAC^^j 250,264. Official-capacity suits filed against state officials are merely an
        17
             alternative way of pleading an action against the entity of which the defendant is an officer.
        18
             Hafer v. Melo, 502 U.S. 21,25 (1991). To bring such a claim. Plaintiff must identify a policy or
        19
             custom of the governmental entity of which the official is an agent that was the moving force
        20
             behind the violation of Plaintiff s constitutional rights. Hafer, 502 U.S. at 25; Monell v. Dep’t of
        21
             Soc. Servs. ofN.Y,426 U.S. 658,690(1978). Moreover, only the officials who have the
        22
             authority to execute and/or ensure execution of the type of court-ordered prospective injunctive
        23
             relief are proper defendants. Hartmann v. California Dep’t ofCorr. & Rehab, 707 F.3d 1114,
        24
             1127 (9th Cir. 2013).
        25
                    Neither Count 1 nor Count 2 contain any allegation ofthe requisite policy or custom of
        26
             the District that was the moving force behind her alleged constitutional injury, as is required to
        27
             state a claim. While both Counts, by rote, incorporate the foregoing voluminous Paragraphs in
        28
                                                              16

             NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
             CASE NO. 5;23-CV-03418-PCP
                  Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 29 of 37



             1   the SAC on a wide variety of topies, such an approach does not provide the requisite fair notice to

            2    Defendants under Rule 8(a)(2) of what Plaintiff is claiming to sufficiently enable the individual

                 Defendants sued in their official capacities to defend themselves. For this reason, both Counts

            4    should therefore be dismissed against all Defendants sued in their official capacities.

            5            To the extent that the Court permits Plaintiff leave to amend Count 1, she must only name

            6    the Defendant official within the District who can appropriately respond to the type of

            7    prospective injunctive relief sought (reinstatement). Hartmann, supra, 707 at 1127. Plaintiff has

            8    named each individual Trustee in their official capacity. However, the District’s Board is a

            9    legislative body subject to the Brown Act Open Meeting laws. Cal. Gov’t Code § 54950 et seq.,

            10   and can only act as a quorum collectively. No individual Trustee has any authority individually

            11   to order reinstatement of a former District employee. Moreover, Christina Espinosa-Pieb is only
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C-,         12   acting temporarily in the De Anza President’s position.
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r: sc   <
                    D. Each Individual Employee Defendant Sued In Their Individual Capacity Should Be
Z
                       Dismissed With Prejudice From Plaintiffs Section 1983 Claims(Counts 1 and 2)
Z
tu <        14
                       Due To Qualified Immunity
N           15
c.                        Qualified immunity” ‘protects all but the plainly incompetent or those who knowingly
            16
                                 999
                 violate the law.      Gordon v. Cnty ofOrange,6 F.4'^ 961, 968 (9**^ Cir. 2021). Qualified
            17
                 immunity in Section 1983 actions “protects government officials from liability for civil damages
            18
                 insofar as their conduct does not violate clearly established statutory or constitutional rights of
            19
                 which a reasonable person would have known.” Sampson v. Cnty ofLos Angeles, 91A F.3d 1012,
            20
                 1018(9* Cir. 2020)(internal quotation marks and citations omitted). In deciding whether
            21
                 qualified immunity applies, courts ask two questions: did the official violate a constitutional
            22
                 right, and (2) was that right clearly established at the time of the events at issue? Seider v. de
            23
                 Vries, 39 F.4‘'^ 591, 595 (9^*^ Cir. 2022). Either question can be addressed first and if the answer to
            24
                 either is “no,” then the state actor cannot be held liable for damages. Gordon,supra,6 F.4* at
            25
                 1018.
            26
                                                                                                              99
                         In the Ninth Circuit, the Pickering balancing test is applied to “academic speech.
            27
                 Demers v. Austin, 746 F.3d 402(2014)(declining to apply Garcetti [547 U.S. 410 (2006)] to
            28
                                                                   17

                 NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                 CASE NO, 5:23-CV-034I8-PCP
            Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 30 of 37



       1   teaching and academic writing and instead applying Pickering balancing test [391 U.S. 563

      2    (1968)].) As noted by the Ninth Circuit, “”[t]he Pickering balancing process in cases involving

      i    academic speech is likely to be particularly subtle and ‘difficult’.” Moreover,“[t]he nature and

      4    strength of the interest of an employing academic institution will also be difficult to assess.

      5    Possible variations are almost infinite.” /if. at 413. Also,“the evaluation of a professor’s writing

      6    for purposes of tenure or promotion involves a judgment by the employing university about the

      7    quality of what he or she has written.” Id. at 413. “[W]e should hesitate before concluding that

      8    we know better than the institution itself the nature and strength of its legitimate interests.” Id. at

      9    413. In the Ninth Circuit, “[a]s the Pickering analysis ‘requires a fact-sensitive, context-specific

      10   balancing of competing interests, the law regarding public-employee free speech claims will
Ch
      11   ‘rarely, if ever, be sufficiently clearly established to preclude immunity.’” Brewster v. Bd. Of
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s
c.    12   Educ. OfLynwood Unified Sch. Dist., 149 F.3d 971, 980 (9^'’ Cir. 1998).
u
(/)
O
      13          Counts 1 and 2 are premised on the assertion that all “speech” Plaintiff has engaged in as a
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w <   14   faculty member is protected under the First Amendment as “academic speech” under Demers, and
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<N    15
<          thus the Pickering balancing would apply to determine if her First Amendment rights were
Q.


      16   violated. However, due to the convoluted and often vague nature of Plaintiff s SAC pleading, all

      17   instances of“protected speech” for which she is claiming retaliation or censorship by any

      18   individual employee Defendant is not sufficiently delineated to meet the requirements of

      19   Iqbal/Twombly. Moreover, in the context of the statutory and collectively bargained tenure

      20   review process that was ongoing and followed for Plaintiff during her two years of employment,

      21   as well as the context of Plaintiffs job duties as Faculty Director, the law was not sufficiently

      22   clearly established to place Holmes, Espinosa-Pieb, Ray, Hearn or Cortez on notice that any of

      23   their actions (as alleged in the SAC)toward Plaintiff violated the First Amendment such that they

      24   should be liable for damages. Moreover, as noted in Demers, evaluating a professor for purposes

      25   oftenure review involves judgement about the quality of the work. Therefore, the Section 1983

      26   claims for damages should be dismissed against each individual Defendant on qualified immunity

      27   grounds.

      28
                                                             18

           NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
           CASE NO. 5:23-CV-03418-PCP
                 Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 31 of 37



            1     E.   Count 3 For Hostile Work Environment In Violation Of Title VII Should Be
                       Dismissed For Failure To State A Claim
           2

           3           Title VII makes it unlawful for an employer “to discriminate against any individual with

           4    respect to [their] compensation, terms, conditions, or privileges of employment, because of such

           5    individual’s race ... .” 42 U.S.C. § 2000e-2(a)(l). A plaintiff may show race discrimination in

           6    violation of Title VII by proving disparate treatment(or impact), or by establishing the existence

           7    of a hostile work environment. “An individual suffers disparate treatment in his employment
                                                                                                           595
           8    ‘when he or she is singled out and treated less favorably than others similarly situated.        Giles V.

           9    San Joaquin Valley Rehab. Hasp., 2023 U.S. Dist. LEXIS 121567 *13, 2023 WL 4551692(E.D.

           10   Cal. July 14, 2023).
Ph
           11           Title VII may also be violated “[wjhen the workplace is permeated with discriminatory
2
<
a.         12   intimidation, ridicule, and insult that is sufficiently severe or pervasive to alter the conditions of
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           13   the victim’s employment and create an abusive work environment.” To state a hostile work
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u <        14   environment claim based on race, a plaintiff must sufficiently allege “(1) that [she] was subjected
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<N         15   to verbal or physical conduct of a racial ... nature;(2)that the conduct was unwelcome; and (3)
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           16   that the conduct was sufficiently severe or pervasive to alter the terms and conditions of the

           17   plaintiffs employment or create an abusive work environment.” Giles, supra, 2023 U.S. Dist.

           18   LEXIS 121567 *15-16. Under Title VII, a plaintiff must have been subject to "'discriminatory

           19   intimidation, ridicule, and insult.” Giles, supra, 2023 U.S. Dist. LEXIS 121567 *16, citing

           20   Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75, 78 (1998). The offensiveness of raee-

           21   based harassment is judged from the perspective of a reasonable person of the same racial or

           22   ethnic group as the plaintiff. McGinest v. GTE Serv. Corp., 360 F.3d 1103 (9^*^ Cir. 2004).

           23          In the May 7‘*’ Order, the Court dismissed plaintiffs Title VII hostile work environment

           24   (race) claim on the ground that as pleaded, and “considered in the context of an academic

           25   workplace in which discussing topics related to race appears to have been central to Dr. Lee’s

           26   jobs and responsibilities,” the conduct alleged - one comment directed at Lee (“whitesplaining”),

           27   one comment discussing race generally but not directed at Lee, and a presentation discussing race

           28   generally - did not “appear severe or pervasive enough to have interfered with Dr. Lee’s

                                                                  19

                NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                CASE NO. 5:23-CV-03418-PCP
                Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 32 of 37



           1   performance of her job or otherwise alter the conditions of her employment. ECF No. 51, 15:23-

          2    28. The Court further noted that while Lee may have disagreed with ideas presented, “showing a

           3   hostile work environment requires more than disagreement or academic discussion of offensive

          4    ideas.” Lee was required in any amended complaint to identify the specific “conduct, she

          5    contends created a hostile work environment and explain why that conduct, when considered in

          6    the specific academic context of her position, was sufficiently severe and pervasive to violate

          7    Title VII.” LCL No. 51, 16:1-7.

           8           While Count 3 has been expanded in the SAC,there is no explanation proffered as to why

          9    the specific conduct,“when considered in the specific academic context of her position,” was

          10   sufficiently severe and pervasive enough to violate Title VII as required by the Court’s granting

hJ        11   of leave to amend. The amendments in the SAC are related solely to alleged racial ideologies
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e.        12   (e.g. “decentering whiteness”), objection to “affinity groups” and “safe spaces,” and other “social
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U              justice” initiatives with which Lee in her own point of view considers “offensive,   hostile,” and
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          14    peddling” racism. In response to the Court’s noting that the FAC included the allegation that
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<              Lee herself, “recognizes that even obnoxious ideas may form part of diverse discussions of ideas
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          16   on campus,” that allegation has been deleted from the SAC. Moreover, these are the same

          17   arguments and examples recycled by Lee from her Free Speech allegations and now cast as racial

          18   harassment. Count 3 also references again the allegation, already debunked in the prior Motion to
                                                                                                                 95
          19   Dismiss, that Chancellor Minor made “decentering whiteness the official policy ofthe District.

          20   RJN, Exhibit 5 to Deck of Chipman. However, nowhere does Plaintiff do what the Court asked

          21   her to do - explain, in the context of her Faculty Director of the Office of Equity position, why

          22   what she has alleged created an unlawful hostile work environment for her based on race in

          23   violation of Title VII. Lee’s Title VII hostile work environment claim based on race should

          24   therefore be dismissed without leave to amend.

          25     F.   Count 4 For Retaliation In Violation Of Title VII Should Be Dismissed In For
                      Failure To Exhaust Administrative Remedies And Failure To State A Claim
          26

          27
                       Title VII is violated if the employer retaliates against an employee for opposing conduct
          28
                 made unlawful by Title VII or by participation in the machinery set up by Title VII to enforce
                                                              20

               NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
               CASE NO. 5:23-CV-03418-PCP
                   Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 33 of 37



               1    its provisions. Hashimoto v. Dalton, 118 F.3d 671, 680(9th Cir. 1997). In order to state a

              2     claim under Title VII for retaliation for engaging in protected activity, a plaintiff must allege

               3    that(1) she engaged in protected activity,(2) her employer subjected her to a materially adverse

              4     employment action, and (3)a causal link exists between the protected activity and the adverse

              5     action. Westendorfv. W. Coast Contractors ofNex., Inc., 712 F.3d 417, 421 (9th Cir. 2013).

              6     The Court’s May 7th Order dismissed Defendants’ District and De Anza’s Title VII retaliation

              7     claim because it was unclear that Plaintiff was complaining about an employment practice that

              8     she believed Violated Title VII, and the Court therefore could not evaluate the potential causal

              9     connection between that complaint and the adverse action (Lee’s ultimate termination). Leave

              10    to amend was granted to identify complaints or grievances she believed she was retaliated
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              11    against for making, and the adverse employment actions she believed resulted. ECF No. 51,
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Cu            12    14:1-9.
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2    2                       Count 4 as pleaded is bare-bones and conclusory. Plaintiff simply alleges that she
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                         submitted multiple grievances objecting to the hostile environment created as part of the
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<                   policies, practices and processes of Defendants.” SAC,         284. It is further alleged that Lee’s
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                         grievances went nowhere,” and that Lee also complained to her supervisors about “racial
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                    epithets and racial stereotypes peddled by De Anza in the name of “antiracism,” and “social
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                    justice.” As a result, Lee was placed in a “virtual rubber room,” subjected to a “struggle
              19
                    session” before the Board of Trustees, and was eventually fired. SAC, T| 289-292. Although
              20
                    not specifically mentioned in Count 4 itself, the SAC includes references to a March 31, 2022
              21
                         formal grievance complaint detailing discrimination and harassment in violation of District
              22
                    policies,” and a November 7, 2022 “additional grievance complainf ’ alleging a “hostile
              23
                    environment.” It is further alleged that on November 16, 2022, Plaintiff “complained that race-
              24
                    based stereotypes were polluting her workplace.” Count 4 as currently pleaded still lacks
              25
                    clarity regarding whether Plaintiff believed that her complaints and grievances alleged conduct
              26
                    prohibited by Title VII. Accordingly, Count 4 should be dismissed without leave to amend.
              27
                             To the extent that Plaintiff is determined to have sufficiently alleged a claim for retaliation
              28
                                                                       21

                   NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                   CASE NO. 5:23-CV-03418-PCP
               Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 34 of 37



          1        under Title VII in Count 4, such claim should he limited to discrete retaliatory acts occurring

         2     after November 18, 2022 (i.e. 300 days prior to Plaintiffs dual-filing of her charge with the

         3         California Civil Rights Department (herein “CRD”)and EEOC on September 14, 2023). Nat’I

         4     R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 110 (2002).

         5     G.       Count 5 For Violation Of California’s Fair Employment And Housing Act(FEHA)
                        Must Be Dismissed On Multiple Grounds
         6

         7                  1.    The FEHA Claims Against Defendants De Anza And The District Were
                                  Already Dismissed Without Leave To Amend
         8
                        The Court’s May       Order dismissed Plaintiffs FEHA claims against De Anza and the
         9
              District without leave to amend on Eleventh Amendment immunity grounds. ECF No. 51, 16:11-
         10
              12. Nonetheless, the entirety of new Count 5(FEHA)itself, remains unamended except for the
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z             insertion oftwo numbers(“3” and “4”) and the word “are,” and the body of Count 5 alleges
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u -J          discrimination against Lee under FEHA solely by the District and De Anza who have already
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iI <          been dismissed without leave to amend. No other Defendants are mentioned in the Count 5
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              allegations. SAC        296-304. Likewise, the Count 5 caption includes the District and De Anza
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 <            as defendants. On this basis alone, the entirety of Count 5 should be dismissed without leave to
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              amend at this juncture because Plaintiff failed to follow the Court’s May 7“’ Order.
         17
                            2.    To The Extent That Plaintiff Intends To Bring A FEHA Racial Harassment
         18                       Claim Against Defendants Holmes, Espinosa-Pieb, Hearn, Ray And Cortez,
                                  Count 5 Fails To State A Claim
         19
                        With respect to the individual Defendants, who Count 5 only references in the caption, the
         20
              May 1'-'^ Order dismissed Plaintiffs FEHA racial harassment claim against individual Defendants
         21
              Holmes, Cortez, Espinosa-Pieb, Ray and Hearn, but with leave to amend           Leave to amend was
         22
              granted on the ground that, similar to Lee’s Title VII claims. Plaintiffs FEHA racial harassment
         23
              claims were not adequately pleaded. With respect to the Lee’s Title VII hostile environment
         24
              claim, the Court noted that “in the context of an academic workplace in which discussing topics
         25
              10
         26     As asserted in Defendants’ Motion to Dismiss the FAC(ECF No. 34, p. 21), it is well settled
              that there is no individual liability under FEHA for claims of discrimination or retaliation as a
         27
              matter oflaw. Reno v. Baird, 18 Cal.4''’ 640(1998)(no individual liability for discrimination
         28   under FEHA); Jones v. The Lodge at Torrey Pines P’ship, 42 Cal.4‘'^ 1158, 1173(2008)(no
              individual liability for retaliation under FEHA).
                                                               22

              NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
              CASE NO. 5:23-CV-03418-PCP
                   Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 35 of 37



              1   of race appears to have been central to Dr. Lee’s job responsibilities,[the conduct alleged] does

             2    not appear severe and pervasive enough to have interfered with Dr. Lee’s performance of her job

             3    or otherwise alter the conditions of her employment. Dr. Lee may have disagreed with the ideas

             4    presented, but showing a hostile work environment required more than disagreement or academic

             5    discussion of offensive ideas.” ECF No. 51, 15:25-28,16:1-4. Therefore, the Court ordered

             6    Plaintiff in any amended complaint to identify the specific conduct she contends created a hostile

             7    work environment and explain why that conduct, when considered in the specific academic

             8    context ofher position, was sufficiently severe and pervasive to violate Title VII. ECF No. 51,

             9    16:4-7, 13-15. Plaintiff has not done so with respect to her Count 5(FEHA)racial harassment

             10   individual liability claims (or her Title VII hostile work environment employer liability claims in

             11   Count 3).
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c-           12          Ultimately, Count 5 consists entirely of bare-bones conelusory legal allegations that are
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             13   not entitled to the Iqbal/Twombly presumption of truth and are insuffieient to state a claim. Iqbal,
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w <          14   supra, 556 U.S. at 678 (“Threadbare recitals of the elements of a cause of action, supported by
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<                 mere conelusory statements, do not suffice”) Likewise, while Count 5 does, by rote, incorporate
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             16   the foregoing 295 Paragraphs in the SAC on a wide variety of topics unrelated to a cause of

             17   action under FEHA (then reincorporates Counts 3 and 4 again), such an approach does not

             18   provide the requisite fair notice to the individual Defendants under Rule 8(a)(2) of what Plaintiff

             19   is claiming to sufficiently enable Defendants sued in their individual capacities to defend

             20   themselves. Because Plaintiff has made no effort whatsoever to amend Count 5 to conform to the

             21   Court’s Order to adequately plead racial harassment claims against the individual Defendants

             22   under FEHA, and her claims against them remain inadequately pleaded after three tries, dismissal

             23   of Count 5 is wholly warranted at this juncture for Defendants Holmes, Espinosa-Pieb, Hearn,

             24   Ray or Cortez with prejudice.

             25               3.   Failure To Exhaust^*
             26
                         Finally, Count 5 is for alleged violation of California’s Fair Employment & Housing Act,
             27
                  11
             28    Defendants raised failure to exhaust as part of their prior motion. It is being raised again
                  because this issue was not addressed in the May      Order.
                                                                  23

                  NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                  CASE NO. 5:23-CV-03418-PCP
              Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 36 of 37



         1   Cal. Gov’t Code §§ 12940 et seq.(FEHA). Before filing a civil action in court alleging violations

        2    of FEHA, a plaintiff must first exhaust their administrative remedies with the California Civil
                                                   12
        3    Rights Department (herein “CRD”).          See e.g. Kim v. Konad USA Distrib., Inc., 226 Cal. App.

        4    1336, 1345 (2014)(“Before filing a civil action alleging FEHA violations, a [complainant] must

        5    exhaust his or her administrative remedies with DFEH”); Jumaane v. City ofLos Angeles, 241

        6    Cal. App. 4''^ 1390, 1402(2015)(plaintiff bears the burden of pleading timely filing of a sufficient

        7    complaint with the DFEH and obtaining right-to-sue notice); see also Williams v. Am. Airlines,

        8    Inc., 2020 U.S. Dist. LEXIS 49949, at *14(N.D. Cal. March 23, 2020)(following California

        9    decisions requiring exhaustion with DFEH and receipt of a right-to-sue letter from DFEH prior to

        10   filing civil suit).
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        11           Plaintiff alleged in her initially filed Complaint that she had obtained her right-to-sue
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        12   letter from the CRD and that the right-to-sue letter was attached. SAC ^303. However,
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        13   Plaintiffs Complaint as initially filed attached no-right-to-sue letter. On September 14, 2023,
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IQ <    14   two months after filing her initial Complaint, Plaintiff filed a complaint with the CRD and
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<            requested an immediate right-to-sue letter, which was issued that same day. Plaintiff has now
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        16   attached a September 14, 2023 immediate right-to-sue cover letter to her First and Second

        17   Amended Complaints as if it had been the one referenced in her initial Complaint filed July 10,

        18   2023 as already received. As is evident from the complete September 14, 2023 immediate right-

        19   to-sue letter package provided previously by Plaintiffs counsel. Plaintiffs complaint was filed

        20   with the CRD on September 14, 2023 and she therefore did not exhaust this jurisdictional pre

        21   requisite prior to initiating this litigation on July 10, 2023. RJN, Exhibit 6 to Deck of Chipman.

        22           Accordingly, Lee is precluded from pursuing her FEHA claims in this litigation against

        23   Defendants Holmes, Espinosa-Pieb, Hearn, Ray or Cortez as a matter of law and therefore they

        24   should be dismissed with prejudice.

        25                                       IV. CONCLUSION

        26           Defendant’s Motion to Dismiss Counts 1 through 5 of the SAC should be granted in its

        27
             12
        28     The California Civil Rights Department was formerly California’s Department of Fair
             Employment & Housing(DFEH).
                                                           24

             NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
             CASE NO. 5:23-CV-03418-PCP
                    Case 5:23-cv-03418-PCP Document 55 Filed 06/14/24 Page 37 of 37



               1   entirety on the grounds set forth above without leave to amend.
              2

              3    Dated:       June 14, 2024                          PLAZA DE JENNINGS & CHIPMAN LLP
              4

              5
                                                                    By:.             ^        ■ fjv
                                                                                        Plaza de Jenni
              6
                                                                                 Jayne Benz Chipman
              7
                                                                    Attorneys for Defendants
                                                                    THE FOOTHILL-DE ANZA
              8
                                                                    COMMUNITY COLLEGE DISTRICT,
              9                                                     DE ANZA COLLEGE,LEE LAMBERT,
                                                                    PATRICK J. AHRENS,LAURA CASAS,
              10                                                    PEARL CHENG,PETER LANDSBERGER,
Ph                                                                  LEE LAMBERT, GILBERT WONG,
hJ
J             11                                                    CHRISTINA ESPINOSA-PIEB, ALICIA
                                                                    CORTEZ,LYDIA HEARN,LLOYD A.
Cl.           12                                                    HOLMES,and THOMAS RAY
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                   NOTICE, MOTION, MPA ISO DEFENDANTS’ FRCP RULE 12(B)(6) MOTION
                   CASE NO. 5:23-CV-034I8-PCP
